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                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT
                             ABINGDON DIVISION


UNITED STATES OF AMERICA,                     )
                                              )
v.                                            )   Case No. 1:20CR15
                                              )
COLE CARINI                                   )      ORDER
                                              )
            Defendant                         )   By: James P. Jones
                                              )   United States District Judge
                                              )


        It appearing proper, it is ORDERED that all pretrial motions, except motions to

dismiss or quash the indictment, motions to suppress evidence, or any motion that may

dispose of a charge or defense, are referred to the Honorable Pamela Meade Sargent,

United States Magistrate Judge, pursuant to Rule 59(a) of the Federal Rules of Criminal

Procedure for determination no later than the pretrial conference. Pursuant to Rule 12(c)

of the Federal Rules of Criminal Procedure, it is ORDERED that all pretrial motions

must be filed at least fourteen (14) days prior to the pretrial conference. All motions filed

will be heard on the date of the scheduled pretrial conference, unless the parties agree

upon an alternative hearing date that is prior to the pretrial conference date. It is further

ORDERED that all dispositive motions must be accompanied by a supporting brief

which sets forth the factually basis and the legal arguments to support the motion, unless

this information is contained in the motion itself. For example, any motion to suppress
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must set forth the factual basis under which it is alleged that the evidence was illegally

obtained or seized.

                                      ENTER: 7/16/20

                                      /s/ James P. Jones
                                      United States District Judge
